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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

   IN RE: ZANTAC (RANITIDINE)                                MDL No. 2924
   PRODUCTS LIABILITY LITIGATION

   Frank Sardina v.
   GlaxoSmithKline, LLC, et al.,
   No. 3:24-cv-02984 TLT (N.D. Cal.)


      NOTICE OF ACTION BY UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF CALIFORNIA

       Defendant GlaxoSmithKline, LLC, hereby notifies the Panel that on July 17, 2024, the

Honorable Trina L. Thompson of the Northern District of California issued an order: (1) Granting

Defendant’s Motion to Stay All Proceedings Pending Transfer to Multidistrict Litigation and

vacating further deadlines; (2) Denying Plaintiff’s Motion to Remand; and (3) Denying joinder of

Patheon.


Dated: July 18, 2024                            Respectfully submitted,

                                                 /s/ Mark Cheffo
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